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             IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

IN RE:                             '
                                   '
Garden Oaks Maintenance Org., Inc. '     CASE NO. 18-60018
                                   '     (Chapter 11)
                                   '
     DEBTOR                        '

       DEBTOR=S AMENDED CHAPTER 11 PLAN OF REORGANIZATION




WALKER & PATTERSON, P.C.
Johnie Patterson
P.O. Box 61301
Houston, TX 77208
713.956.5577
713.956.5570 fax
jjp@walkerandpatterson.com
Counsel For Debtor




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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                             '
                                   '
Garden Oaks Maintenance Org., Inc. '                 CASE NO. 18-60018
                                   '                 (Chapter 11)
                                   '
     DEBTOR                        '

              DEBTOR=S CHAPTER 11 PLAN OF REORGANIZATION

       Garden Oaks Maintenance Org., Inc., Debtor and Debtor-in-Possession (ADebtor@)

proposes the following Plan of Reorganization (the APlan@) pursuant to the provisions of Chapter

11 of the Bankruptcy Code, 11 U.S.C. Sections 1101 et seq.:

      ALL HOLDERS OF CLAIMS OR EQUITY INTERESTS ENTITLED TO VOTE
ON THIS PLAN ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT CAREFULLY AND IN THEIR ENTIRETY BEFORE VOTING ON THIS
PLAN.


1      DEFINITIONS

       The following terms, when used in the Plan, shall unless the context otherwise requires,

have the following meanings:

        1.01 Administrative Claim: Any cost or expense of administration of this Debtor in
this Chapter 11 Case incurred on or before the Effective Date entitled to priority under ' 507(a)(2)
and allowed under ' 503(b) of the Bankruptcy Code, including without limitation, any actual and
necessary expenses of preserving this Debtor=s estate, including wages, salaries or commissions
for services rendered after the commencement of the Chapter 11 Case, certain taxes, fines and
penalties, any actual and necessary post-petition expenses of operating this Debtor=s business,
certain postpetition indebtedness or obligations incurred by or assessed against the Debtor in
connection with the conduct of its business, or for the acquisition or lease of property, or for
providing services to this Debtor, including all allowances of compensation or reimbursement of
expenses to the extent allowed by the Bankruptcy Court under the Bankruptcy Code, and any fees
or charges assessed against this Debtor=s estate under chapter 123, title 28, United States Code.
With respect to Administrative Claims, there shall be an Administrative Claim against the Debtor
only to the extent of and only after the entry of a Final Order approving such Administrative Claim
following the filing of a motion or application prior to the Administrative Claim Bar Date.

       1.02 Administrative Claim Bar Date: The last day to file an application for allowance
of an Administrative Claim (other than quarterly U.S. Trustee fees), which shall be 60 days after

Plan                                                                                              2
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the Effective Date, unless otherwise established by a Final Order.

       1.03    Allowed Amount: The amount of an Allowed Claim.

        1.04 Allowed Claim: Any Claim (a) which has been scheduled by the Debtor pursuant
to Bankruptcy Rule 1007 and (i) is not scheduled as disputed, contingent or unliquidated, (ii) as to
which no Proof of Claim has been filed, and (iii) as to which no objection to such scheduled Claim
has been filed; (b) as to which a timely Proof of Claim has been filed as of the Bar Date and no
objection thereto has been made; or (c) that has been allowed by a Final Order.

       1.05 Allowed Secured Claim: A Secured Claim of a creditor to the extent such Claim is
an Allowed Claim, and the Lien securing such Claim has been specifically preserved in this Plan.

       1.06 Avoidance Action: Any and all rights, claims and causes of action arising under
'' 506(c), 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552(b), 553 or 724 of the Bankruptcy
Code or similar rights, and claims and causes of action under applicable state law.

      1.07 Bankruptcy Code: Title 11 of the United States Code, as in effect on the
Confirmation Date.

        1.08 Bankruptcy Court: The unit of the United States District Court for the Southern
District of Texas, having jurisdiction over this Chapter 11 Case, or in the event such Court ceases
to exercise jurisdiction over this Chapter 11 Case, such court or adjunct thereof that exercises
jurisdiction over this Chapter 11 Case in lieu of the United States Bankruptcy Court for the
Southern District of Texas, and any appellate or other court that is competent to exercise
jurisdiction over the confirmation of this Plan.

       1.09 Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as amended, and
the Bankruptcy Local Rules for the Southern District of Texas, as applicable to this Chapter 11
Case, each as in effect on the date of the event described herein.

       1.10    Bar Date: August 27, 2018.

        1.11 Cause Of Action: Any Claim or cause of action, legal or equitable, now owned or
hereafter acquired by the Debtor, whether arising under contract or tort, federal or state law,
including but not limited to Avoidance Actions, whether commenced prior or subsequent to the
Petition Date.

      1.12 Chapter 11 Case: Case No. 18-60018 filed under Chapter 11 of the Bankruptcy
Code by the Debtor, and pending before the Bankruptcy Court.

        1.13 Claim: Any (a) right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (b) right to an equitable remedy for breach of
performance if such breach gives rise to a right to payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured.

       1.14    Claimant: A person asserting a Claim against the Debtor, its property, or the Estate.


Plan                                                                                              3
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        1.15 Collateral: Any property or interest in property of the Estate subject to a Lien that
is preserved in this Plan and that is not subject to avoidance under the Bankruptcy Code or
otherwise invalid under the Bankruptcy Code or applicable state law.

       1.16 Confirmation Date: The date upon which the Bankruptcy Court enters the
Confirmation Order.

       1.17 Confirmation Hearing: The hearing to be conducted by the Bankruptcy Court to
determine whether to approve the Plan.

       1.18 Confirmation Order: The Order of the Bankruptcy Court approving and
confirming the Plan in accordance with the provisions of Chapter 11 of the Bankruptcy Code.

       1.19 Creditor: Any person that holds a Claim against the Debtor that arose or is
deemed to have arisen on or before the Petition Date, including an Allowed Claim against the
Debtor=s Estate of a kind specified in '' 502(g), 502(h) or 502(i) of the Bankruptcy Code.

        1.20 Cure Costs: The amount necessary to cure all defaults under any executory
contract or any unexpired lease to which the Debtor is a party and to compensate the non-debtor
party for any actual pecuniary loss resulting from such defaults in order to assume and assign the
executory contract or unexpired lease under '' 365(a) and 365(f) of the Bankruptcy Code.

       1.21    Debtor: Garden Oaks Maintenance Organization, Inc.

       1.22 Debtor in Possession: The Debtor in its capacity as a debtor in possession
pursuant to '' 1107 and 1108 of the Bankruptcy Code.

       1.23 Deficiency Claim: The amount by which an Allowed Secured Claim exceeds the
value of any Collateral securing such Claim as may be determined by the Bankruptcy Court in
accordance with ' 506(a) of the Bankruptcy Code. A Deficiency Claim is a General Unsecured
Claim.

       1.24 Disclosure Statement: The Disclosure Statement with respect to this Plan,
including all exhibits and schedules thereto, filed by the Debtor and approved by the Court
pursuant to ' 1125 of the Bankruptcy Code, as may be amended or supplemented.

       1.25 Disputed Claim: A Claim against the Debtor as to which an objection has been
filed on or before the deadline for objecting to a Claim and which objection has not been
withdrawn, settled or otherwise resolved by Final Order.

       1.26 Disputed Claims Reserve: A reserve to be held in trust for the benefit of holders of
Disputed Claims in accordance with the provisions of the Plan.

        1.27 Distribution: The Cash and other property required by the Plan to be distributed to
the holders of Allowed Claims and Allowed Interests.

       1.28 Distribution Date: The date, occurring as soon as practicable after the Effective
Date, on which distributions are made pursuant to the terms of the Plan to Holders of Allowed
Administrative Claims; provided, however, that should such Allowed Administrative Claims be
paid in the ordinary course of business, the Distribution Date shall be the date such Allowed

Plan                                                                                            4
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Administrative Claim becomes payable under the terms of any contract or agreement or applicable
non-bankruptcy law.

      1.29 Effective Date: The first Business Day after (a) the date the Confirmation Order
becomes a Final Order; and (b) all conditions specified in Article 13 hereof have been satisfied or
waived.

        1.30 Equity Interest or Interest: The meaning ascribed to Aequity security@ in ' 101(16)
of the Bankruptcy Code.

       1.31 Equity Interest Holder or Interest Holder: The meaning ascribed to Aequity security
holder@ in ' 101(17) of the Bankruptcy Code.

        1.32 Estate: The estate created upon the filing by the Debtor of this Chapter 11 Case
pursuant to ' 541 of the Bankruptcy Code, together with all rights, claims and interests pertaining
thereto.

         1.33 Final Order: An order or judgment which has not been reversed, vacated or stayed
and as to which (a) the time to appeal, petition for certiorari or move for new trial, reargument or
rehearing has expired and to which no appeal, petition for certiorari or other proceedings for a new
trial, re-argument or rehearing shall then be pending and stayed, or (b) if an appeal, writ of
certiorari, new trial, re-argument or rehearing thereof has been sought, such order or judgment of
the Bankruptcy Court shall have been affirmed by the highest court to which such order was
appealed, or certiorari shall have been denied or a new trial, re-argument or rehearing shall have
been denied or resulted in no modification of such order, and the time to take any further appeal,
petition for certiorari or move for a new trial, re-argument or rehearing shall have expired or the
order or judgment has been stayed.

      1.34 General Unsecured Claim:             A Claim other than a Secured Claim, an
Administrative Claim, a Priority Claim, or a Subordinated Claim.

       1.35 Lien: A charge against or interest in property to secure payment of a debt or
performance of an obligation which has not been avoided or invalidated under any provision of the
Bankruptcy Code or other applicable law.

        1.36 Person: An individual, a corporation, a partnership, an association, a joint stock
company, a joint venture, an estate, a trust, an unincorporated association or organization, a
governmental unit (as that term is defined in the Bankruptcy Code) or any agency or subdivision
thereof or any other entity.

       1.37 Petition Date: April 11, 2018, the date on which the Debtor filed the voluntary
chapter 11 petition commencing this Chapter 11 Case.

       1.38 Plan: This Chapter 11 Plan of Reorganization, as it may be amended or modified
from time to time.

        1.39 Plan Ballot: The form of ballot that the Debtor will transmit to Creditors and
Interest Holders who are, or may be, entitled to vote on the Plan.

       1.40    Plan Documents:      Any and all documents contemplated to be executed in

Plan                                                                                              5
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connection with this Plan.

       1.41 Priority Claim: Any Claim to the extent entitled to priority in payment under '
507(a) of the Bankruptcy Code.

        1.42 Priority Non-Tax Claim: Any Claim (other than an Administrative Claim or a
Priority Tax Claim) to the extent entitled to priority in payment under ' 507(a) of the Bankruptcy
Code including, but not limited to, (a) Claims of an employee of the Debtor for wages, salaries, or
commissions, including vacation, severance or sick leave pay, earned within one hundred and
eighty (180) days prior to the Petition Date (to the extent of $12,475 per employee) as set forth in '
507(a)(4) of the Bankruptcy Code; (b) Claims for contribution to an employee benefit plan as set
forth in ' 507(a)(5) of the Bankruptcy Code; (c) Claims for deposits of up to $2,775 placed by
individuals with the Debtor as set forth in ' 507(a)(7) of the Bankruptcy Code; (d) Claims based
upon any commitment by the Debtor to a Federal depository institutions regulatory agency to
maintain the capital of an insured depository institution as set forth in ' 507(a)(9); and (e) Claims
for death or personal injury resulting from the operation of a motor vehicle or vessel if such
operation was unlawful because the Debtor were intoxicated from using alcohol, a drug or another
substance as set forth in ' 507(a)(10).

        1.43 Priority Tax Claim: Any Claim entitled to priority in payment under ' 507(a)(8)
of the Bankruptcy Code. A Claim based upon an assessed ad valorem tax that is secured by a
statutory lien on property that was administered during this Chapter 11 Case is a Secured Claim to
the extent of the value of the property administered. Otherwise, such Claim is a General
Unsecured Claim.

        1.44 Pro-Rata: The proportion that the dollar amount of an Allowed Claim or Allowed
Interest in a Class bears to the aggregate amount of all Allowed Claims or Allowed Interests in
such Class.

        1.45 Professional Fee Claims: Administrative Claims for Professional Fees from the
Petition Date through the Effective Date, as well as fees, expenses and other reimbursable costs
incurred after the Effective Date.

        1.46 Professional Fees: All fees, costs and expenses incurred in this Chapter 11 Case
related to the Debtor by any professional person (within the meaning of '' 327, 328 or 1103 of the
Bankruptcy Code or otherwise) and awarded by Final Order of the Bankruptcy Court pursuant to
'' 330 or 503(b) or any other provision of the Bankruptcy Code and any professional fees, costs
and expenses which have been allowed by Final Order of the Bankruptcy Court.

       1.47 Professionals: Any Court-approved professional Person, including lawyers,
accountants, financial advisors, investment bankers and restructuring advisors, employed by the
Debtor or any Committee in this Chapter 11 Case at any time before the Effective Date.

       1.48 Reorganized Debtor: As of the Effective Date of the Plan, the Debtor as
reorganized under the terms of this Plan.

        1.49 Rights of Action: Includes (a) any avoidance, recovery, subordination or other
action of the Debtor, the Estate or the Reorganized Debtor, (b) any Cause of Action of the Debtor,
the Estate or the Reorganized Debtor, (c) any objection or other challenge to a Claim, and (d) any
objection or other challenge to an Interest.

Plan                                                                                                6
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       1.50 Schedules: The Debtor=s Schedules of Assets and Liabilities, as may be amended
or supplemented, and filed with the Bankruptcy Court in accordance with ' 521(a)(1) of the
Bankruptcy Code.

        1.51 Secured Claim: A Claim to the extent of the value, as may be determined by the
Bankruptcy Court pursuant to ' 506(a) of the Bankruptcy Code, of any interest in property of the
Debtor=s Estate securing such Claim, or any Claim to the extent that it is subject to setoff under '
553 of the Bankruptcy Code. To the extent that the value of such interest is less than the amount of
the Claim which has the benefit of such security, such Claim is a Deficiency Claim.

        1.52 Unsecured Claim: A Claim not secured by a charge, mortgage or lien against or
interest in property of the Estate, including but not limited to any Deficiency Claim and any claim
for damages resulting from the rejection of an executory contract or lease.

2      CLASSIFICATION OF CLAIMS AND INTERESTS

        2.01 All Claims and Interests against the Debtor of whatever nature, whether or not
scheduled, liquidated or unliquidated, absolute or contingent, including all Claims arising from
transactions of the Debtor or rejection of executory contracts and/or unexpired leases and all
Interests arising from the ownership of the Debtor, whether resulting in an Allowed Claim or not,
shall be bound by the provisions of this Plan. The Claims and Interests are hereby classified as
follows

       2.02 In accordance with ' 1123(a)(l) of the Bankruptcy Code, Administrative Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims
and Interests.

               2.02.01        Allowed Administrative Claims arising under 11 U.S.C. ' 503(b)
               will be paid in Cash and in full by the Reorganized Debtor on the later of (a) the
               Effective Date, (b) the date on which such Administrative Claim becomes an
               Allowed Claim; or (c) such other date as the Reorganized Debtor and the holder of
               the Allowed Administrative Claim shall agree.

               2.02.02        Allowed Priority Tax Claims against the Debtor will be paid in Cash
               by the Reorganized Debtor on the later of (a) the Distribution Date; (b) the date on
               which such Priority Tax Claim becomes an Allowed Claim; or (c) such other date
               as the Reorganized Debtor and the holder of the Allowed Priority Tax Claim shall
               agree. Any Allowed Priority Tax Claim due and owing on the Effective Date shall
               accrue statutory interest as provided and allowed by applicable non-bankruptcy
               law.

       2.03    Claims against the Debtor are classified as follows:

               2.03.01      Class 1 - Secured Claims . Class 1 is comprised of all Secured
               Claims. Class 1 is impaired.

               2.03.02        Class 2 – Unsecured Litigation Claims. Class 2 is comprised of
               the unsecured claims arising from prepetition litigation with the Debtor. Class 2 is
               impaired.

Plan                                                                                              7
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               2.03.03        Class 3 – Unsecured Refund Claims. Class 3 is comprised of
               Unsecured Claims asserting a right to a refund of the transfer fee paid to the Debtor.
               Class 3 is impaired.

               2.03.04         Class 4 – Relinquished Unsecured Claims. Class 4 is comprised
               of Unsecured Claims filed with a $0.00 amount claimed, and Class 3 Claims
               electing to be treated as Class 4 Claims. Class 4 is impaired.

               2.03.05        Class 5 – Lot Owner Claims. Class 5 includes four (4)
               subclasses, consisting each of lot owners for each of the four sections of Garden
               Oaks currently encumbered by the 2002 Amended Deed Restrictions. All of Class
               5 is impaired.
                       2.03.05.01     Class 5(a) – consists of the home and lot owners in Section 1
               of Garden Oaks.

                      2.03.05.02      Class 5(b) – consists of the home and lot owners in Section 2
               of Garden Oaks.

                      2.03.05.03      Class 5(c) – consists of the home and lot owners in Section 3
               of Garden Oaks.

                      2.03.05.04      Class 5(d) – consists of the home and lot owners in Section 5
               of Garden Oaks.

3      IMPLEMENTATION OF THE PLAN

        3.01 On the Effective Date, all Property of the Estate shall revest in the Reorganized
Debtor free and clear of all liens, claims, interests and encumbrances pursuant to 11 U.S.C. '
363(f) and 11 U.S.C. ' 1123(a)(5) to the maximum extent allowed by law.

       3.02 Continuation of Operations. From and after the Effective Date, the Reorganized
Debtor is authorized to take such actions as are necessary to continue all operations it deems
necessary.

        3.03 Continued Corporate Existence – Name Change: From and after the Effective
Date, the Reorganized Debtor shall continue to exist in accordance with the applicable laws of the
State of Texas and its Articles of Incorporation. The name of the Reorganized shall be changed to
“Garden Oaks Homeowners Association, Inc.”.

         3.04 General Powers of the Reorganized Debtor: The Reorganized Debtor shall have all
of the rights, powers and privileges set forth in this Plan, the Confirmation Order and applicable
law. The Reorganized Debtor is authorized and shall have the obligation to take all such actions as
in its judgment are necessary and appropriate to effectuate the purposes of the Plan, including but
not limited to the following:

               3.04.01        Make all Distributions contemplated under the Plan.

               3.04.02        Consistent with maintaining the value of the Reorganized Debtor=s
               assets and operate its business in a lawful manner as it deems appropriate;

Plan                                                                                               8
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            3.04.03        Administer the resolution, settlement and payment of Claims;

            3.04.04         Enter into any agreement required by or consistent with the Plan and
            perform all of the obligations required of the Reorganized Debtor under this Plan;

            3.04.05        Abandon any of the assets of the Reorganized Debtor if the
            Reorganized Debtor concludes that such assets are of no benefit to the Creditors or
            Interest Holders;

            3.04.06          Participate in or initiate any proceeding before the Bankruptcy
            Court or any other court of appropriate jurisdiction and participate as a party or
            otherwise in any administrative, arbitrative or other non-judicial proceeding and
            litigate claims, including without limitation all state and federal causes of action or
            any other litigation which constitutes an asset of the Estate/Reorganized Debtor and
            pursue to settlement or judgment such actions;

            3.04.07       Participate as a party-in-interest in any proceeding before the United
            States Bankruptcy Court involving this Chapter 11 Case;

            3.04.08        Take actions and exercise remedies against any entity that owes
            money to the Debtor/Estate/Reorganized Debtor, including without limitation, the
            remedies available under any deed of trust, security agreement, promissory note,
            bond, guarantee or other instrument or document; make compromises regarding
            any deed of trust, security agreement, promissory note, bond, guarantee or other
            instrument or document; and, declare or waive defaults regarding any deed of trust,
            security agreement, promissory note, bond, guarantee or other instrument or
            document;

            3.04.09       Select and employ such professionals, agents or employees as the
            Reorganized Debtor deems necessary to assist in the administration of the affairs of
            the Reorganized Debtor and compensate such persons;

            3.04.10      Hold any unclaimed distribution or payment to the holder of an
            Allowed Claim in accordance with this Plan;

            3.04.11       Propose any amendment, modification or supplement to this Plan or
            the Reorganized Debtor=s governance documents;

            3.04.12        Receive, conserve and manage the assets of the Reorganized Debtor
            and sell, pursuant to 11 U.S.C. ' 363(f), 11 U.S.C. ' 1123(a)(5) and this Plan, or
            otherwise dispose of such assets for a price and upon such terms and conditions as
            the Reorganized Debtor deems most beneficial to the Creditors and Interest
            Holders and execute such deeds, bills of sale, assignments and other instruments in
            connection therewith;

            3.04.13        Open and maintain bank accounts;

            3.04.14        Pay all taxes, make all tax withholdings and file tax returns and tax
            information returns and make tax elections;

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              3.04.15      Pay all lawful expenses, debts, charges and liabilities of the
              Reorganized Debtor;

              3.04.16        Enforce all provisions of this Plan;

              3.04.17       Protect, perfect and defend the title to any of the assets of the
              Reorganized Debtor and enforce any bonds, mortgages or other obligations or liens
              owned by the Reorganized Debtor;

              3.04.18      Carry insurance coverage in such types and amounts as the
              Reorganized Debtor deems advisable;

              3.04.19         Establish such reserves for taxes, assessments and other expenses of
              the Reorganized Debtor (including without limitation the Disputed Claims
              Reserve) as may be necessary and appropriate for the proper operation of matters
              incident to the affairs of the reorganized Debtor and its obligations under this Plan;
              and

              3.04.20        Exercise such other powers and duties as are necessary or
              appropriate in the Reorganized Debtor=s discretion to accomplish the purposes of
              this Plan.

4      SPECIFICATION OF ALL CLAIMS IMPAIRED AND NOT IMPAIRED UNDER
       THE PLAN

       4.01 Impaired Classes: Only holders of Claims and Equity Interests that are in impaired
Classes may vote on this proposed Plan. The following Classes of Claims and Equity Interests
are impaired under this Plan:
              4.01.01         Class 1 - Secured Claims.
              4.01.02         Class 2 – Unsecured Litigation Claims.
              4.01.03         Class 3 – Unsecured Refund Claims.
              4.01.04         Class 4 – Relinquished Unsecured Claims.
              4.01.05         Class 5(a) – 5(d) – Homeowner Claims.

       4.02   Unimpaired Classes: There are no Unimpaired Classes under this Plan:

5      SPECIFIC TREATMENT OF CLAIMS

       5.01 All Claims, whether specifically listed in this Plan or not, are subject to objection
       by the Reorganized Debtor as provided in this Plan.

       5.02   Class 1 - Secured Claims

              5.02.01        Class 1 is impaired, and is entitled to vote.

              5.02.02         All Allowed Secured Claims will be paid in full, without interest, in
              periodic monthly payments, payable in full within 12 months of the Effective Date.
              Claims in Class 1 retain their statutory rights and liens until paid. Debtor reserves
              the right to prepay any Class 1 Claim without penalty.

Plan                                                                                             10
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       5.03   Class 2 – Unsecured Litigation Claims.

              5.03.01        Class 2 is impaired, and is entitled to vote.

              5.03.02        $50,000.00 will be provided by the Debtor for payment of all
              Allowed Claims in Classes 2, and 3. All Allowed Class 2 Claims will be paid their
              pro-rated share of the $50,000.00. Payment of Allowed Class 2 Claims will be
              made within the later of ninety (90) days after the Effective Date, or thirty (30) days
              after all objections to unsecured claims have been resolved by final order of the
              Bankruptcy Court.
              5.03.02        The Reorganized Debtor may prepay the Class 2 Claims without
              penalty at any time after the Effective Date.


       5.04   Class 3 – Unsecured Refund Claims.

              5.04.01        Class 3 is impaired, and is entitled to vote.

              5.04.02        $50,000.00 will be provided by the Debtor for payment of all
              Allowed Claims in Classes 2, and 3. All Allowed Class 3 Claims will be paid their
              pro-rated share of the $50,000.00. Payment of Allowed Class 3 Claims will be
              made within the later of ninety (90) days after the Effective Date, or thirty (30) days
              after all objections to unsecured claims have been resolved by final order of the
              Bankruptcy Court.
              5.04.03        All other Claims are disallowed.

              5.04.04        The Reorganized Debtor may prepay the Allowed Class 3 Claims in
              full without penalty at any time after the Effective Date.

       5.05   Class 4 – Relinquished Unsecured Claims.

              5.05.01        Class 4 is impaired, and is entitled to vote.

              5.05.02        Class 4 will not receive any distribution.


       5.06   Class 5(a) – Homeowner/Lot Owner Section 1.

              5.06.01        Class 5(a) is impaired, and is entitled to vote.


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              5.06.02        Class 5(a) releases any claim that may exists to challenge, in any
              manner, the enforceability of the 2002 Amended Deed Restrictions, and any claims
              regarding the viability or defects in the formation of the Petition Committee formed
              to draft, circulate and petition for the approval of the 2002 Deed Restrictions.

              5.06.03        With sufficient acceptances, Class 5(a) adopts the 2019 Amended
              Deed Restrictions, a copy of which is attached to the Chapter 11 Plan.
              5.06.04        All other Claims are disallowed.

       5.07   Class 5(b) – Homeowner/Lot Owner Section 2.

              5.07.01        Class 5(b) is impaired, and is entitled to vote.

              5.07.02        Class 5(b) releases any claim that may exists to challenge, in any
              manner, the enforceability of the 2002 Amended Deed Restrictions, and any claims
              regarding the viability or defects in the formation of the Petition Committee formed
              to draft, circulate and petition for the approval of the 2002 Deed Restrictions.

              5.07.03        With sufficient acceptances, Class 5(b) adopts the 2019 Amended
              Deed Restrictions, a copy of which is attached to the Chapter 11 Plan.

              5.07.04        All other Claims are disallowed.

       5.08   Class 5(c) – Homeowner/Lot Owner Section 3.

              5.08.01        Class 5(c) is impaired and is entitled to vote.

              5.08.02        Class 5(c) releases any claim that may exists to challenge, in any
              manner, the enforceability of the 2002 Amended Deed Restrictions, and any claims
              regarding the viability or defects in the formation of the Petition Committee formed
              to draft, circulate and petition for the approval of the 2002 Deed Restrictions.

              5.08.03        With sufficient acceptances, Class 5(c) adopts the 2019 Amended
              Deed Restrictions, a copy of which is attached to both this Disclosure Statement
              and the Chapter 11 Plan.

              5.08.04        All other Claims are disallowed.


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       5.09    Class 5(d) – Homeowner/Lot Owner Section 5.

               5.09.01         Class 5(d) is impaired and is entitled to vote.

               5.09.02         Class 5(d) releases any claim that may exists to challenge, in any
               manner, the enforceability of the 2002 Amended Deed Restrictions, and any claims
               regarding the viability or defects in the formation of the Petition Committee formed
               to draft, circulate and petition for the approval of the 2002 Deed Restrictions.

               5.09.03         With sufficient acceptances, Class 5(d) adopts the 2019 Amended
               Deed Restrictions, a copy of which is attached to both this Disclosure Statement
               and the Chapter 11 Plan.

               5.09.04         All other Claims are disallowed.


6    CLAIM/INTEREST OBJECTION PROCEDURES, TREATMENT OF DISPUTED
CLAIMS/INTERESTS AND PROCEDURE FOR ASSERTING CLAIMS

        6.01 Objection Process. The Reorganized Debtor shall have the sole right to object to
the allowance of any Claims or Equity Interests provided for under the Plan. The Reorganized
Debtor shall have the sole authority to compromise, settle or otherwise resolve objections without
approval of the Bankruptcy Court. Unless otherwise ordered by the Bankruptcy Court, the
Reorganized Debtor shall file and serve all objections to Claims and Equity Interests no later than
(i) 75 days after the later of (a) the Effective Date; or (b) the date on which a proof of claim, proof
of interest or request for payment is filed with the Bankruptcy Court or (ii) such other date as may
be approved by the Bankruptcy Court after notice and hearing.

       6.02 Filing of Claims and Causes of Action. The Reorganized Debtor shall have the
exclusive right to file and prosecute any Claims and Causes of Action, including all derivative
Causes of Action. The Reorganized Debtor shall have the authority to compromise, settle or
otherwise resolve all Claims and Causes of Action without approval of the Bankruptcy Court.

        6.03 Disputed Claims Reserve. A Disputed Claims Reserve may be established by the
Reorganized Debtor for the treatment of Disputed Claims. The Disputed Claims Reserve shall be
held in a separate bank account from all other funds held by the Reorganized Debtor. If created,
the Reorganized Debtor shall deposit into a Disputed Claims Reserve an amount equal to the Pro
Rata share of the Distribution allocable to such Disputed Claims, in accordance with the
distribution scheme contemplated in the Plan, as if such Claims and/or Equity Interests were
Allowed Claims or Equity Interests. Amounts deposited into the Disputed Claims Reserve shall
be held in trust for the benefit of the holders of Disputed Claims pending a determination of their
entitlement thereto under the terms of the Plan. Once such Disputed Claim is determined by Final
Order or settlement to be an Allowed Claim, the Reorganized Debtor is authorized to pay the
Allowed Amount of such Claim without further approval from or notice to any person or entity.


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        6.04 Distributions to Holders of Disputed Claims. Within 10 Business Days after such
time as a Disputed Claim becomes an Allowed Claim or Equity Interest, but in no event earlier
than the initial payment dates established under the Plan, any Distributions reserved for such
Allowed Claim or Equity Interest shall be released from the Disputed Claims Reserve and
delivered to the holder of such Allowed Claim or Equity Interest in an amount proportionate to the
Allowed Amount of any such Claim or Equity Interest. In the event that the Disputed Claim is
disallowed in whole or in part, or otherwise settled in amount less than the Disputed Claim
amount, the disallowed or reduced portion of such Claim or Equity Interest shall be distributed
from the Disputed Claim Reserve to holders of Allowed Claims or Equity Interests on the next
scheduled payment date established under the Plan without further approval from or notice to any
person or entity.

        6.05 Disallowance of Late Filed Proofs of Claim. Except as otherwise provided in the
Plan, any proof of claim filed by the holder of such Claim after the Bar Date is hereby disallowed
and forever barred.

       6.06    Provisions Governing Distributions.

               6.06.01        Record Date for Claims. For purposes of Distributions to holders of
               Allowed Claims, the Reorganized Debtor shall rely on the claims docket
               maintained by the Clerk for proofs of claim filed in this Chapter 11 Case for this
               Debtor, except to the extent a notice of transfer of Claim or Interest has been filed
               with the Court prior to the record date pursuant to Bankruptcy Rule 3001.

               6.06.02         Delivery of Distributions to Holders of Allowed Claims. Subject
               to Bankruptcy Rule 9010, Distributions to holders of Allowed Claims will be made
               at the address of each such holder as set forth on the proofs of claim filed by such
               holders, or at the last known address of such holder if no proof of claim is filed,
               unless the holder of the Allowed Claim has otherwise notified the Reorganized
               Debtor in writing of a change of address. The Reorganized Debtor may, but shall
               not be required to make any Distribution of less than $25.00.

               6.06.03          Delivery of Distributions to Holders of Allowed Equity Interests.
               Distributions to holders of Allowed Equity Interests, to the extent they are entitled
               to distributions under the Plan, will be made at the address of the registered holder
               of each such Equity Interest as set forth in the Debtor=s records. If any holder=s
               distribution is returned as undeliverable, no further distributions to such holder will
               be made unless and until the Reorganized Debtor is notified in writing of such
               holder=s then current address.

               6.06.04       Uncashed Checks. Checks issued in respect of Allowed Claims
               and/or Equity Interests will be null and void if not negotiated within ninety (90)
               days after the date of issuance thereof. Distributions with respect to such
               un-negotiated checks will revert to the Reorganized Debtor and the remaining
               Claim or Equity Interest of any holder with respect to such Distribution will be
               discharged and forever barred.

7      EXECUTORY CONTRACTS AND UNEXPIRED LEASES


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         7.01 Assumption of Executory Contracts and Unexpired Leases. To the extent a claim
is treated in one of the above classes, the treatment may not be modified by asserting the claim
should be classified as an executor contract, without an order from the Court. All other Executory
Contracts disclosed by the Debtor in its Schedule G filed with the Court are assumed. All other
contracts, to the extent they existed on the petition date are rejected.

8      ACCEPTANCE OR REJECTION OF THE PLAN

       8.01 Voting. All creditors who are impaired under the Plan are entitled to vote to
accept or reject the Plan.

        8.02 Acceptance By Class. A class shall have accepted the Plan if the Plan is accepted
by at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the Allowed
Claims or Equity Interests of such class that have voted to accept or reject the Plan.

        8.03 Reservation of Cramdown Rights. In the event that any impaired class shall fail to
accept this Plan in accordance with ' 1129(a) of the Bankruptcy Code, the Debtor reserves the
right to request the Bankruptcy Court to confirm the Plan in accordance with the provisions of '
1129(b) of the Bankruptcy Code.

9      EFFECT OF CONFIRMATION

        9.01 Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
Interest Holders, whether or not they accept this Plan. On and after the Effective
Date, all holders of Claims and Equity Interests shall be precluded
and enjoined from asserting any Claim (i) against the Debtor, the
Reorganized Debtor, its successors, or its assets and properties based
on any transaction or other activity of any kind that occurred prior
to the Confirmation Date except as permitted under the Plan; (ii)
that is a derivative claim, including claims against third parties
asserting alter ego claims, fraudulent transfer claims or any other
type of successor liability, and (iii) claims related to the formation of
the 2002 petition committee, the adoption or enforceability of the
2002 Amended Deed Restrictions, or any acts or omissions in
enforcing or not enforcing the 2002 Amended Deed Restrictions.
        9.02 Injunction. The entry of the Confirmation Order will operate as a general resolution
with prejudice, as of the Effective Date, of all pending legal proceedings, if any, against the
Debtor, the Reorganized Debtor and their assets and properties and any proceedings not yet
instituted against the Debtor, the Reorganized Debtor or their assets and properties, except as
otherwise provided in the Plan. Except as otherwise expressly provided in the Plan or the
Confirmation Order, all Persons who have held, hold, or may hold Claims against the Debtor or its
assets and properties are permanently enjoined on and after the Effective Date from (a)
commencing or continuing in any manner any action or other proceeding of any kind against the
Debtor or the Reorganized Debtor, or their assets and properties, with respect to any such Claim,

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(b) the enforcement, attachment, collection or recovery by any manner or means of any judgment,
award, decree or order with respect to any such Claim against the Debtor or the Reorganized
Debtor, or their assets and properties, (c) creating, perfecting, or enforcing any encumbrance of
any kind against the Debtor or the Reorganized Debtor, or their assets and properties, with respect
to such Claim, (d) asserting any right of subrogation of any kind against any obligation due to the
Debtor or the Reorganized Debtor, or the property of the Debtor, the Estate or the Reorganized
Debtor with respect to any such Claim and (e) asserting any right of setoff or recoupment against
the Debtor, the Estate or the Reorganized Debtor except as specifically permitted by ' 553 of the
Bankruptcy Code. Unless otherwise provided in the Plan or by order of the Bankruptcy Court, all
injunctions or automatic stays provided for in this case pursuant to '' 105, 362 of the Bankruptcy
Code, or otherwise, and in existence on the Confirmation Date will remain in full force and effect
until the Effective Date. All Allowed Claims, and Claims allowed by the Court after objection,
shall be valid, binding and conclusive claims against the Debtor, not subject to any further review,
adjustment, allowance or disallowance by any Court.

        9.03 Discharge. In addition to the foregoing section and pursuant to ' 1141(d) of the
Bankruptcy Code, and except as otherwise specifically provided in the Plan or the Confirmation
Order, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of all Claims, Interests, and
Causes of Action of any nature whatsoever, including any interest accrued on Claims or Interests
from and after the Petition Date, whether known or unknown, against, liabilities of, Liens on,
obligations of, rights against, and Interests in, the Debtor or any of its assets or properties,
regardless of whether any property shall have been distributed or retained pursuant to the Plan on
account of such Claims and Interests, including demands, liabilities, and Causes of Action that
arose before the Effective Date, any liability (including withdrawal liability) to the extent such
Claims or Interests relate to services performed by employees/representatives of the Debtor prior
to the Effective Date or that arise from a termination of employment or a termination of any
employee or retiree benefit program, regardless of whether such termination occurred prior to or
after the Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in '' 502(g),
502(h), or 502(i) of the Bankruptcy Code, in this Chapter 11 Case whether or not: (a) a Proof of
Claim or Interest based upon such debt, right, Claim, or Interest is Filed or deemed Filed pursuant
to ' 501 of the Bankruptcy Code; (b) a Claim or Interest based upon such Claim, debt, right, or
Interest is Allowed pursuant to ' 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or
Interest has accepted the Plan. Subject to the terms of the Plan and the Confirmation Order, any
default by the Debtor with respect to any Claim or Interest that existed immediately prior to or on
account of the filing of this Chapter 11 Case shall be deemed satisfied on the Effective Date.
Subject to the terms of the Plan, the Confirmation Order shall be a judicial determination of
discharge of all liabilities of the Debtor, its Estate, the Reorganized Debtor and all successors
thereto. As provided in ' 524 of the Bankruptcy Code, subject to the terms of the Plan, such
discharge shall void any judgment against the Debtor, its Estate, the Reorganized Debtor or any
successors thereto at any time obtained to the extent it relates to a Claim or Interest discharged, and
operates as an injunction against the prosecution of any action against the Reorganized Debtor or
its property and assets to the extent it relates to a discharged Claim or Interest.

       9.04 Continuation of Anti-Discrimination Provisions of Bankruptcy Code.                       A
Governmental Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, or discriminate with respect to such a
grant against, the Debtor, the Reorganized Debtor, or another Person with whom the Debtor has

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been or is associated or affiliated, solely because of the commencement, continuation, or
termination of the case or because of any provision of the Plan or the legal effect of the Plan, and
the Confirmation Order will constitute an express injunction against any such discriminatory
treatment by a Governmental Unit. Moreover, a Governmental Unit may not deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to the Debtor
or the Reorganized Debtor based upon any requirement that the Debtor or the Reorganized Debtor
place a bond or other surety obligation with such governmental unit as a condition of receipt of
such a license, permit, charter, franchise, or other similar grant to the Debtor or the Reorganized
Debtor. All licenses, permits, charters, franchises, or other similar grants to the Debtor are hereby
transferred and assigned on the Effective Date (which transfer and assignment is without the
assumption of any liabilities arising prior to the Effective Date which liabilities arise out of such
license, permit, charter, franchise or similar grant) to the Reorganized Debtor without the need for
further application or approval by any Governmental Unit.

         9.05 Preservation of Claims and Rights. Confirmation of this Plan effects no
settlement, compromise, waiver or release of any Claim, Cause of Action, Right of Action or claim
for relief unless this Plan or the Confirmation Order specifically and unambiguously so provides.
The non-disclosure or non-discussion of any particular Claim, Cause of Action, Right of Action or
claim for relief is not and shall not be construed as a settlement, compromise, waiver, or release of
any such Claim, Cause of Action, Right of Action or claim for relief.

        9.06 The Reorganized Debtor reserves any and all claims and rights against any
and all insiders and third parties, whether such claims and rights arose before, on or after
the Petition Date, the Confirmation Date, the Effective Date, the Record Date and/or any
Distribution date, including, without limitation, any and all Causes of Action, Rights of
Action and/or claims for relief that the Debtor or the Reorganized Debtor may have against
(i) any insurer and/or insurance policies in which either the Debtor and/or their current or
former personnel have an insurable or other interest in or right to make a claim against, any
other of the Debtor=s insurers; (ii) any recipient of a transfer identified in the Debtor=s
statements of financial affairs, including any amendments thereto, filed in this Chapter 11
Case, or; (iii) the secured lender on the Debtors Property, and its servicers, for their
prepetition acts/omissions. The entry of the Confirmation Order shall not constitute res
judicata or otherwise bar, estop or inhibit any actions by the Reorganized Debtor relating to
any claims, Causes of Action or Rights of Action referred to in this Article, or otherwise. The
Reorganized Debtor shall constitute the representative of the Estate for purposes of
retaining, asserting and/or enforcing Rights of Action under ' 1123(b)(3)(B) of the
Bankruptcy Code. On the Effective Date, the Reorganized Debtor shall be substituted as a
party of record in all pending litigation brought by or against the Debtor without need for
further order of the Bankruptcy Court.

10     RETENTION OF JURISDICTION

       10.01 Exclusive Bankruptcy Court Jurisdiction. The Court shall retain and have
exclusive jurisdiction over this Chapter 11 Case to the maximum extent provided by law for the
following purposes following the Confirmation Date:

               10.01.01        To determine any and all objections to the allowance and
               classification of Claims or Interests;


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               10.01.02       To determine the validity and priority of any Lien;

               10.01.03      To determine the Allowed Amount of any Claim, whether secured
               or unsecured;

               10.01.04     To allow any and all applications for allowances of compensation
               and reimbursement of expenses payable from the estate;

               10.01.05       To determine any and all applications or motions pending before the
               Court on the Effective Date of the Plan, including without limitation any motions
               for the rejection, assumption or assumption and assignment of any executory
               contract or unexpired lease;

               10.01.06       To consider and approve any modification of this Plan, remedy any
               defect or omission or reconcile any inconsistency in the Plan, or any order of the
               Court, including the Confirmation Order;

               10.01.07       To hear and determine all controversies, suits and disputes that may
               arise in connection with the interpretation, enforcement or consummation of this
               Plan, the Confirmation Order, any transactions or payments contemplated hereby
               or any agreement, instrument or other document governing or related to any of the
               foregoing;

               10.01.08        To consider and act on the compromise and settlement of any claim
               or cause of action by or against the Debtor;

               10.01.09      To issue orders in aid of execution and implementation of this Plan
               and the Confirmation Order, to the extent authorized by 11 U.S.C. ' 1142 or
               provided by the terms of this Plan;

               10.01.10       To hear and determine matters concerning federal, state or local
               taxes in accordance with '' 346, 505 or 1146 of the Bankruptcy Code; and,

               10.01.11     To hear and determine any and all claims related to the adoption of
               the 2019 Amended Deed Restrictions.


       10.02 Limitation on Jurisdiction. In no event shall the provisions of this Plan be deemed
to confer in the Bankruptcy Court jurisdiction greater than that established by the provisions of 28
U.S.C. '' 157 and 1334.

11     NOTICE PROVISIONS

        11.01 Notices. All notices, requests, elections or demands in connection with this Plan,
including any change of address of any Creditor or Interest Holder for the purposes of receiving
Distributions under this Plan and to avoid forfeiting the same pursuant to this Plan, shall be in
writing and shall be delivered personally, by facsimile, overnight courier or first class mail. Such
notice shall be deemed to have been given when received or, if mailed by first class mail, five (5)
Business Days after the date of mailing, or if by overnight courier, the next Business Day

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following the date of mailing. Notices required to be sent to the following parties under this Plan
shall be addressed to:

               11.01.01       To The Reorganized Debtor:
                              Johnie Patterson,
                              WALKER & PATTERSON,
                              P.C., P.O. Box 61301,
                              Houston, TX 77208 -61301
                              713.956.5577/713.956.5570 fax

               11.01.02        Any asserted default by the Debtor under the terms of this Plan shall
               be provided to the Debtor, in writing, pursuant to the Notice Provisions of the Plan.
               After receipt of any notice of default, the Debtor shall have fourteen (14) days to (1)
               cure the alleged default, or; (2) provide written notice to the party asserting the
               default that the Debtor disputes the alleged default. If the parties are unable to
               informally resolve the disagreement, the bankruptcy court for the Southern District
               of Texas shall have exclusive jurisdiction to determine the existence or
               non-existence of a default under this Plan.

12     COMPROMISE AND SETTLEMENTS

        12.01 Effect of Confirmation Order. Pursuant to Bankruptcy Rule 9019, and in
consideration for the classification, distribution and other benefits provided under the Plan, the
provisions of the Plan shall constitute a good faith compromise and settlement of all Claims,
Interests and controversies resolved pursuant to the Plan, including, without limitation, all Claims
arising prior to the Effective Date, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, arising out of, relating to or in connection with the business or affairs of, or
transactions with, the Debtor. The entry of the Confirmation Order shall constitute the
Bankruptcy Court=s approval of each of the foregoing compromises or settlements, and all other
compromises and settlements provided for in the Plan, and the Bankruptcy Court=s findings shall
constitute its determination that such compromises and settlements are in the best interests of the
Debtor, the Estate, Creditors and other parties in interest, and are fair, equitable and within the
range of reasonableness.

13     MISCELLANEOUS PROVISIONS

        13.01 Bar Date for Administrative Claims. No Administrative Claim, other than United
States Trustee fees will be paid unless the holder of such Administrative Claim has filed an
application for payment of such Administrative Claim on or before the Administrative Claim Bar
Date. Upon the filing of any application for payment, the entity seeking payment of an
Administrative Claim shall provide notice by United States Mail in accordance with the
Bankruptcy Rules. Any Administrative Claim, other than United States Trustee fees, not filed in
accordance with this section shall be barred and the Debtor and the Reorganized Debtor shall have
no liability for payment of any such Administrative Claim.

        13.02 Objections to Administrative Claims. Objections to Applications for payment of
Administrative Claims may be filed by any party in interest. In order to be considered, such
objections must be filed on or before the 21st day following the date on which the application was
filed. Any objections will be determined by the Bankruptcy Court.

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        13.03 Payment of Professional Fees. Each holder of a Professional Fee Claim shall be
paid in respect of such Professional Fee Claim in Cash, in full, on the Effective Date, or, if such
Claim has not been approved by the Bankruptcy Court on or before the Effective Date, promptly
after Bankruptcy Court approval of the Professional Fee Claim by a Final Order. Final fee
applications for any Professional Fee Claim that has not been approved as of the Effective Date
shall be filed within seventy-five (75) days of the Effective Date, or such other time as may be
extended by the Court, and such applications and objections thereto (if any) shall be filed in
accordance with and comply in all respects with the Bankruptcy Code, the Bankruptcy Rules, and
the applicable local rules. The failure to file an application by the foregoing deadline shall
constitute a waiver of all such Professional Fee Claim.

               13.04           Payment of United States Trustee Fees.      The Reorganized Debtor
       shall be responsible for timely payment of United States Trustee quarterly fees incurred
       pursuant to 28 U.S.C. § 1930(a)(6). Any fees due as of the date of confirmation of the plan
       will be paid in full on the effective date of the plan. After confirmation, the Reorganized
       Debtor shall pay United States Trustee quarterly fees as they accrue until this case is closed
       by the Court and shall file with this Bankruptcy Court a financial report for each quarter, or
       portion thereof, that this chapter 11 case remains open in a format prescribed by the United
       States Trustee.

        13.05 Satisfaction of Liabilities. The rights afforded in the Plan and the treatment of all
Claims and Interests herein shall be in exchange for and in complete satisfaction and release of all
Claims and Interests of any nature whatsoever against the Debtor or its Estate, assets, properties, or
interests in property. Neither the Debtor nor the Reorganized Debtor shall be responsible for any
pre-Effective Date obligations of the Debtor.

        13.06 Compliance with Tax Requirements. In connection with each distribution with
respect to which the filing of an information return (such as an Internal Revenue Service Form
1099 or 1042) or withholding is required, the Reorganized Debtor shall file such information
return with the Internal Revenue Service and provide any required statements in connection
therewith to the recipients of such distribution or effect any such withholding and deposit all
moneys so withheld as required by law. With respect to any Person from whom a tax identification
number, certified tax identification number or other tax information required by law to avoid
withholding has not been received by the Reorganized Debtor within thirty (30) days from the date
of such request, the Reorganized Debtor may, at its option, withhold the amount required and
distribute the balance to such Person or decline to make such distribution until the information is
received.

       13.07 Amendment of the Plan. This Plan may be amended or modified by the Debtor
before, or by the Reorganized Debtor after the Effective Date, as provided in ' 1127 of the
Bankruptcy Code. The Plan may not be modified after Substantial Consummation.

        13.08 Timing of Distributions. When a provision of this Plan requires that a payment or
distribution shall be made on a certain date, such payment may be made (i) at any time prior to the
date on which such payment is due; (ii) in more frequent intervals than set forth in such provision
of the Plan; or (iii) not more than 14 days after the date any such payment is due.
Notwithstanding the foregoing and unless specifically set forth to the contrary in this Plan, no
payment shall be considered late or otherwise result in a default unless the Reorganized Debtor has

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failed to make the payment after the passage of 30 days following the receipt by the Reorganized
Debtor of a written notice advising that a payment has not been received in accordance with the
times set forth in this paragraph.

       13.09 Filing of Documents in Public Records. Pursuant to ' 1146 of the Bankruptcy
Code, the issuance, transfer or exchange of a security or the making of an instrument of transfer
under this Plan (including without limitation the filing of any mortgage, deed of trust, security
agreement, uniform commercial code financing statement or other similar document) shall not be
taxed under any law imposing a stamp tax or similar tax. All state or local governmental officials
or agents are hereby directed to forego the collection of any such tax or governmental assessment
and to accept for Filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax or governmental assessment.

       13.10 Right to Seek Further Orders. The Reorganized Debtor, if and to the extent
necessary, will seek such orders, judgments, injunctions, regulatory approvals, and rulings that
may be required to carry out and further the intentions and purposes, and give full effect to the
provisions, of the Plan.

       13.11 Withdrawal of Plan. The Debtor reserves the right to withdraw this Plan at any
time prior to the Confirmation Date. If the Debtor withdraws this Plan prior to the Confirmation
Date, or if the Confirmation Date or the Effective Date does not occur, then this Plan shall be
deemed null and void. In such event, nothing contained herein shall be deemed to constitute an
admission, waiver or release of any Claims by or against the Debtor.

        13.12 Due Authorization by Creditors. Each and every Creditor who elects to participate
in the Distributions provided for herein (i) warrants that it is authorized to accept in consideration
of its Claim against the Debtor the Distributions provided for in this Plan; (ii) states that there are
no outstanding commitments, agreements, or understandings, express or implied, that may or can
in any way defeat or modify the rights conveyed or obligations undertaken by it under this Plan;
and (iii) indemnifies and holds harmless the Reorganized Debtor and their professionals and
representatives with respect to such Distributions.

       13.13 Filing of Additional Documentation. On or before the Effective Date, the Debtor
may file with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan.

        13.14 Implementation. The Debtor and the Reorganized Debtor shall be authorized to
perform all reasonable, necessary and authorized acts to consummate the terms and conditions of
the Plan.

       13.15 Substantial Consummation. On the Effective Date, the Plan shall be deemed to be
substantially consummated under Bankruptcy Code '' 1101 and 1127(b).

       13.16 Dates. The provisions of Bankruptcy Rule 9006 shall govern the calculation of
any dates or deadlines referenced in the Plan.

       13.17 Governing Law. Except to the extent that the Bankruptcy Code or Bankruptcy
Rules are applicable, the rights and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Texas, without giving effect to

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any conflicts of law principles.

        13.18 Conflict. Except as otherwise provided in the Plan, to the extent the Confirmation
Order and/or this Plan are inconsistent with the Disclosure Statement, any other agreement entered
into between the Debtor and any third party, the Plan controls, subject only to the Confirmation
Order.

       13.19 Severability. The provisions of this Plan shall not be severable unless such
severance is agreed to by the Debtor and such severance would constitute a permissible
modification pursuant to 11 U.S.C. ' 1127.

        13.20 Setoffs. The Reorganized Debtor may, but shall not be required to, set off against
any Claims and the payments or Distributions to be made pursuant to the Plan in respect of such
Claims, any and all debts, liabilities and claims of every kind, type and nature whatsoever that the
Estate or the Reorganized Debtor may have against the Holder of any Claim, but neither the failure
to do so nor the Allowance of any such Claims, whether pursuant to the Plan or otherwise, shall
constitute a waiver or release by the Reorganized Debtor of any such claims it may have against
the Holder of such Claim, and all such claims shall be reserved for and retained by the Reorganized
Debtor.

        13.21 Further Action. Nothing contained in the Plan shall prevent the Reorganized
Debtor from taking such actions as may be necessary to consummate the Plan, even though such
actions may not specifically be provided for within the Plan.

DATED: January 8, 2019

    /s/
Garden Oaks Maintenance Org., Inc.
By: Victor Seghers
Its: President




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